Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 1 of 21




             EXHIBIT 1
                       Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 2 of 21

                                              SECOND AMENDED                                                                                                       SUM-1 00
                                              SUMMONS                                                                               FOR COURT USE ONLY
                                                                                                                             (SOLO PARA USO DE LA CORTEJ

                                        (CITACION JUDICIAL)
NOTICE TO DEFE NDANT: Union Pacific Railroad Company; Aztec Dairy;
                                                                                                                E LECTRON I CALLY FILED BY
(A VISO AL DEMA NDADO}: Sisson Farms LTD; Hein Hettinga; Does 4- 1 0                                            Superior Court of California,
                                                                                                                County of Monterey
                                                                                                                On 1 /27/2021 1 1 : 1 4 AM
                                                                                                                By: Row ena Esq uerra , Dep uty
YOU ARE BEING SUED BY PLAINTIFF: Lorenzo Trujillo
(LO ESTA DEMANDA NDO EL DEMANDANTEJ:




  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on lhe plaintiff. A letter or phone call will not protect you. Your written response musl be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more Information at the California Courts
  Online Self-Help
              1·       Center ( www.courlinfo.ca .g ov/se/fne fp) , yo ur county law library, or the courthouse nearest yo u. If you cannot pay the filing fe e , ask
  the court clerk fo r a fee waiver form. If you do not file your response on time, you may lose the case by defaull, and your wages, money, and property
  may be taken without further warning from the court.
      There are other legal require ments. You ma y want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referra l seivice. If you cannot afford an attorney, you may be eligible for fre e legal services from a nonprofit legal services progra m. You can locate
 these nonprofit groups at the California Legal Services Web site (www.fawhelpcalifomia.org) , the California Courts Online Selr- Help Center
  ( www.courtinfo.ca. gov/sellhelp) , or by ronlacting your local court or county bar association . NOTE: The court has a statutory lien for wa ived fees and
  costs on any settlement or arbitration    I ' award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 1A VJSO/ Lo han demandado, SI no resp onde dentro de 30 dlas. /a corle puede decidir en su contra sin o'S{;uchar su versi6n . Lea la informaci6n a
 continuad6n.
     Tien e 30 DIAS DE CALENDARfO despu�s de qua le entreguen esta citaci6n y papeles tegales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue un a cop/a al demandante. Una cart a o una Hamada telef6nlca no lo prote gen. Su rospuesta por escrlto tiene que estar
 en formato legal correcto si desea que procesen su caso en la corle . Es p oslble que ha ya un torrnularto que usted pueda usar para su re spueste.
 Puede encontrar estos tormularios de la corte y m�s informaci6n en el Centro de Ayuda de las Cortes de Califomie ('Nw'w.suco rte,ca.gov), en la
 biblioteca de /e ye s de su con dado o en la carte que le quede mas cerca. Si no puede pagar Ja cuola de presentaci6n, pida al s&cretarlo de la carte
 que le dtt un formulario de exenci6n de pa g o de cuoras. Si no presenta su re spuesta a tiempo , puede perder el caso por incumptimiento y la corte le
 poc!rtJ qu/tar su su<,1/clo, clin<,1ro y bienes sin mas advertenc;ia .
    Hay otros re quisttos legafes. Es recomendabfe qua flame a un abogado inmediatamente. Si no conoce a un abogado. puede /Jamar a un serviclo de
 remisi6n a abog ados. Si no puede pagar a un abogado , es p osible que cumpla con /os requisitos para obtener serviclos /ega/es gratuitos de un
 programa de servicios Jegales sin fines de Jucro. Pue de encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (WWWJawhelpcalifomia .orgJ, en el Centro de Ayuda de las Cortes de Gafifomia, (www.sucorle .ca.govJ o poniBndose en contacto con la carte o el
 cole g io de ab ogados locales. AVISO: Por fey, la corle tiene derecho a reclamar las cuotas y /os costos exenros por lmponer un gravamen sobre
 cuaJquier reIcu'peracion de $ 1 0, 000 6 m8s de valor recibida mediante un acuerdo o una concesi6n de arbltraje en un caso de darecho civil. Tiena qu e
 pa ga r ef gravamen de la carte antes de que la corte pueda desechar ef caso.
The name and address of the court is:                                                                          CASE NUMSCR        l 9CV004604
(El nombre y direcci6n de la corte es):                                                                        (Nllmero dfi Caso)
Superior Court of California, CoW1ty of Monterey
1 200 AguaJ 1l0 Rd.
Monterey, California 93940
The name, address, and telephone number of plaintiffs attorney , or plaintiff without an attorney, is: Neil P. Berman
(El nombre, la direcci6n y el nf.Jmero de tetetono def abogado de/ demandante, o de/ demandante que no tiene abogado, es) :
RUCKA O'BOYLE LOMBARDO & McK.ENNA
245 Wes t Laurel Drive, Sal inas, CA 93906                                                                         83 1 -443- 1 05 1
DAT E:                                                               Clerk , by         is/ Ro w e na Esq uer                        '                               De puty
(Fecha)             1 /29/2021                                                      (Secrelario)
                                                                                                                                              ra                    (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-0 10).)
(Para prueba de entrega de esta cttati6n use et formulario Proof of Service of Su mmons, (POS.010)).
                                         NOTICE TO THE PERSON SERVED: You are served
 (SE.Al)
          / o\!l'IJ" o.-;''-<?-f.',',
         /�g,,.,
                    ,- -,,,

                    �U IU'Jf,1
                                         1.   D as an individual defendant.
                                         2. [ji] as the person sued under the fictitious name of (specify):                       Doe...
                          I         \
   ��
  I�        'tu,                         3.   GLJ   on behalf of (specify):        Aztec Dairy
 ,_.,
 ' ::>
                                              under·   D    CCP 416 . 1 0 (corporation)                        CJ        CCP 4 1 6.60 (minor)
                                                       D    CCP 4 1 6.20 (defunct corporabon)                  CJ        CCP 416.70 (conservatee)
                                                       CJ   CCP 4 1 6.40 (asso�tion or partnership)            CJ        CCP 4 1 6.90 (authorized person)
                   ···-�·-
                                         4.   IXJ
                                                     IX] othSr'rs�e�f. Jti\nown
                                                                               1

                                                    by pee;onal delivery on (date) :
                                                                                                   business entity ·
                                                                                                                              I        t t.f>      "i"l 'f
                                                                                                                                                                      P e , 01 1
Form Adopted for Mandatory U5e
  Judicial Council of Ci-lhfctn<a                                        SU MMONS                                                       Code o'I Crvil Procedure �§ 412 20, 465
 SUM--100 [Rev July 1, 2009}                                                                                                                               WWlv. .:ourl.,nfo.ca gov
                                                                                                                                                     Westt,,wOo< lo l'<,r,n �
                        Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 3 of 21

                                                                                                                                                         PLD-Pl-001
                                                              -       -   --   - ---     �   --          -----   ----   -   --- ----   -- -
I ATTORNEY OR PAR.IV WITHOUT ATTORNEY (N,,11•�>. Sm/11 B,1r1wmber_ ,,nd edd<e�s!                                                   FOR COLJR1 USE ONLY
1--Ncil P. Berman                                                     SllN: 246637
      RUCKA O'BOYU LOMLJARDO & McKENNA                                                                             ELECTRONICALLY FILED BY
      245 West Laurel Drive                                                                                        Superior Court of California,
      Salinas. CA 93906                                                                                            County of Monterey
              fELEl-'HONE NO·   g3 J -443- \ 05 i                 FAX NO. (Oprinmil)'   831-443-64 l 9             On 11/14/20191:11 PM
   E-MAIL ADDRESS (Op/1onalt
                                                                                                                   By: Christina Flores, Deputy
      ATTORNEY FOR /Name;:Lorcnzo         Trujillo
  SUPERIOR COURT OF CALIFORNIA, COUNTY OFMOJ\iTEREY
            srnu1 ADDRESS·      1200 Aguajito RJ..
           MAILING A□□ REss:    1200 Aguaj ito Rd.
          CITY ANl) z1r•
                     I' CO0E:Montcrcy,       939...J.0
               BRANCH NAME·     Monterey Courthouse
                PLAINTIFF:      Lorenzo Tn�jillo

             DEFENDANT: Union Pocifit: RailroaLI Company


  IT] DOES 1 TO                     10
  COMPLAINT-Personal Injury, Property Damage, Wrongful Death
          0 AMENDED (Number):
  Type (check all that apply/:
  0    MOTOR VEHICLE          IT] OTHER /specify):Gencrnl Negligence
          D Property Damage                      D
                                     Wrongful Death
      IT] Personal Injury                        D
                                     Other Damages (specify/:
  Jurisdiction (check all that apply/:                                                                              CASE NUM�ER·
  0    ACTION IS A LIMITED CIVIL CASE
       Amount demanded                   D
                                    does not exceed $10,000
                                         D
                                    exceeds $10,000, but does not exceed $25,000
  IT] ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)                                                                    19CV004604
  0    ACTION IS RECLASSIFIED by this amended complaint
          D        from limited to unlimited
          c::J     from unlimited to limited
1. Plaintiff (name or names):Lorcnzo Trujillo
     alleges causes of action against defendant (name or names): Union Pacific RailrnaJ Company: Docs 1-10

2. This pleading, including attachments and exhibits, consists of the following number of pages. fnur
3. Each plaintiff named above is a competent adult
   a.    D  except plaintiff (name).
                                  I I"

            (1)         c::J
                      a corporation qualified to do business in California
            (2) [=:J an unincorporated entity (clescnbe).
            (3)         D
                      a public enlily (describe).
            (4)         D
                      a minor               D
                                       an adull
                      (a)            c::J
                                 for whom a guardian or conservator of the estate or a guardian ad !item has been appointed
                      (b)            D
                                 olher (specify).
            (5)         D
                      olher (specify/:
    b.   D        except plainliff (name).
                  (1) � a corporation qualified to do business in California
                  {2) � an unincorporated entity (descnbe).
                  (3)   D a public entity (describe).
                  (4)   D a minor D an adult
                                (a) [__:=J for whom a guardian or conservator of the estate or a guardian ad !item has been appointed
                                (b) D      other (specify/:
                  (5)   D       olher (specify):

   � Information about additional plaintiffs who are not competent adults is shown in Attachment 3.                                                             Page 1 of3
 Forrn Approved for Opl ional Use                                                                                                         Code t:llC,v,I Pmcednm.1425 12
  Judlr.ial Council or California
                                                         COMPLAINT-Personal Injury, Property                                                            1vww.courtmfo c;; gov
PLD-Pl-001 !Rev. January 1. L007]                             Damage, Wrongful Death                                                         W�Stl<'IW Doc & l=orm 8\JHdcr-·
                       Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 4 of 21

                                                                                                                                  PLD-Pl-001

       SHORT TITLE' Trujillo v. Union Paci lie R.�1itroad CompJny                                       CASE NUf,it,l:.R


                                                                                                                19CV004604

  4.    c::::J   Plaintiff (name):
                 is doing business under the fictitious name (specify):

          and has complied with the riclitious business name laws.
  5. Each defendant named above is a natural person
     a. OJ except defendant (name). l.111 1011 Pacific Railroad Co          c. [:=J except defendant (name).
             ( 1) CK] a business organization. fom1 unknown                         (1) C] a business organization, form unknown
             (2) c::::J a corporation                                               (2) c::::J a corporation
             (3) c::::J an unincorporated entity (describe).                        (3) CJ an unincorporated entity (de5criLJe).


                    (4)   c::::J a public entity (describe).                          (4) [    J a public entity (describe}I'.

                    (5)   c::::J other (speci(y).                                     (5)   D other (specify).


        b    c::::J except defendant (name).                                d.   c::::J except defendant (name).
                    (1) C=1 a business organization, form unknown                     (1) C] a business organization, fonn unknown
                    (2)   D a corporation                                             (2)   D  a corporation
                    (3)   c::::J an unincorporated entity (describe).
                                                                  I   I'              (3) C:=J an unincorporated entity (describe).

                    (4)   D a public entity (describe).                               (4)   CJ   a public entity (describe):

                    (5)   D other (specify):                                          (5)   D    other (specify).


        C:::J    Information aboul additional defendants who are not natural persons is contained in Attachment 5.

 6.         The true names of defendants sued as Does are unknown to plaintiff.
            a. c:J Doe defendanls (specify Doe numbers): __�------- -- were lhe agenls or employees of other
                     named defendants and acted within the scope of that agency or employment.
            b. [KJ Doe defendants (specify Doo numbers): 1-1 O                                   are persons whose capacities are unknown lo
                   plaintiff.
 7.      D        Defendants who are joined under Code of Civil Procedure section 382 are (names):




 8.         This court is the proper court because
            a. CJ at least one defendant now resides in its jurisdictional area
            b. CJ the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
            c. � injury to person or damage to personal property occurred in its jurisdictional area.
            d. [XI other (specify): Dcrcndant LJ11ion Pacific Roilroad Company regularly docs business ln Monterey County aml has
                   an office in Royal Oaks, CA



9.       c=J Plaintiff is required to comply wilh a claims statute, and
         a. CJ has complied with applicable claims statutes, or
         b. CJ is excused from complying because (specify):




PLD-Pl-001 [Rev Je1nuary 1, 2007]
                                                       COMPLAINT-Personal Injury, Property                                            Paga 2 of J

                                                            Damage, Wrongful Death
                      Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 5 of 21

                                                                                                                                             PLD-Pl-001
                                                                                                                         ------
                                                                                                            CASE MIJ�lBER
   SHORT TITLE:          Tmjillo v. Union Pacific Railroad Compnny
                                                                                                                      19CV004604

  10.    The following causes of action are attached and the slatements above apply to each (each complaint musl have one or more
         causes of action attached}:
         a.   D    Motor Vehicle
         b. [TI General Negligence
         c. c::J Intentional Tort
         d.   D    Products Liability
         e. c=J Premises Liability
         f.   D   Other (spec,!y).I '




  11.   Plaintiff has suffered
        a. � wage loss
        b.    D    loss of use of property
        c. [K] hospital and medical expenses
        d. [TI general damage
        e.    D    properly damage
        f. [TI loss of earning capacity
        g, [TI other damage (specify): Costs and prcjuclgmcnl interest.




 12. [=:J The damages claimed for wrongful dealt1 and lhe relationships of plaintiff lo tl1e deceased are
     a C:J listed in Attachment 12.
     b.      D
             as follows:




 13.    The relief sought in this complaint is within the jurisdiction of this court.



 14.    Plaintiff prays for judgment for costs of suit; for such relief as is fair, just. and equitable; and for
        a. (1) IT] compensatory damages
            (2)    D        i
                      punit ve damages
            The amount of damages is (in cases for personal injury or wrongful death, you must check (1)).
            ( 1) [TI according lo proof
            (2)    D  in the amount of: $
 l 5. C:=J The paragrapl1s of this complaint �lleged on information <.mrl. belief ar@ as follows (_r;;;pecify naraqraph numbers).




Date: I l ii 3/2019
                                                                                              ,·
                                                                                           ,: . r
                                                                                          !Ji , .,,' .
Neil P. Berman
                                {TYPE' OR PRJNr NAME)                            ►                  (SIGNMURE OF Pl AINTlf'F ()R ATTORNEY)

PLO-Pl-001 lRev. Januo,y 1, 2007)                       COMPLAINT-Personal Injury, Property                                                     Pag11 3 of 3

                                                             Damage, Wrongful Death
                        Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 6 of 21

                                                                                                                                      PLD-Pl-001 (2)
    SHORT TITLE: Tru_iillo v. Union Pacific Railroad Company                                          CASE NUMBEf:t


                                                                                                             19CV004604
.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __JL _ _ _ _ _ _ _ _ _ _ __ __ ____ -···-


                                  First              CAUSE OF ACTION-General Negligence                                         Page       '1
                                                                                                                                           ' _ __         _


                               (number)

             ATTACHMENT TO                [TI Complaint      D     Cross - Complaint
             (Use a separate cause of action form tor each cause of action.)

             GN-1. Plaintitt (name): Lorenzo Trujillo

                         alleges that defendant (name): Union Pacific Railroud Company




                                     OD   Does                     to         10

                         was the legal (proximate) cause ot damages to plaintitf. By the tallowing acts or omissions to act, defendant
                         negligently caused the damage to plaintiff
                         on (date): December I, 2017
                         at (place): Yuma County. Arizona.

                         (descr;ption of reasons for liability):

                        Plaintiffnl\eges that defendant Union Pacific Railroad Company's employees negligently opcn1tcd a Union Pacific train
                        causing a collision t!KJ.t rcsult�d in the .serious injuries sustained by plaintiff that is the subject of this rnmp!ainl.

                        Defendant Union Pacific Rai!rno<l Company negligently owned, maintaincd, managed ;.ind operated the subject crossing
                        (Union Pacilic Crossing 742081 B) where the inl'i<lcnt occurred and failed Lo adequately provide measures to make SUJT
                        said collision WL)uld not occur. including. but not limited tu. providing warning of approaching Univn Pacific trains.




                                                                                                                                                  Page 1 ol 1
  Form Approved for Op1 ,oni.ll Uso                                                                                          Code �I C,v,1 Prucedur� 425. 12
   Juo;J,::•al Counc-1 ol Cai<fonu:i              CAUSE OF ACTION-General Negligence                                                  ww,v.cc:llP /m/u.c:1. r10�
PLD·Pl·00 112) I Rev. J:inuary I. 20071                                                                                       Wl":tlaw Doc Bo F"orm Builder
                Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 7 of 21


SUPERIOR COURT OF MONTEREY COUNTY
Monterey Branch, 1200 Aguajito Road, Monterey, CA�9�3�94�0�- - -
                                                               -
                                                                                     CASE NUMBER
Lorenzo Trujillo                                                                      19CV004604
vs
Union Pacific Railroad Companv                                              Case Management Conference

                      NOTICE OF ASSIGNMENT AND CASE MANAGEMENT CONFERENCE

Your case number ending EVEN is assigned for all purposes to the Hon. Marla 0. Anderson- Dept. 14

Your case number ending ODD is assigned for all purposes to the Hon. Susan J. Matcham- Dept. 15


This notice and Alternative Dispute Resolution (ADR) information packet (Cl-127)' must be served together with the
Summons and Complaint pursuant to California Rule of Court 3.221. Parties are required to follow the case management
rules as outlined in California Rule of Court 3. 722 and Chapter 6 of the Local Rules of Court found on the court website at
www.montereycourt.ca.gov . A case management statement from each party or joint statement shall be filed prior to the
conference as outlined in California Rule of Court 3.725.


                                     Date: March 17, 2020                 Time:9:00 AM

         Location: Monterey Courthouse, 1200 AGUAJITO ROAD, MONTEREY, CA 93940


'The ADR information packet (Cl-127) can be found at FORMS on the court's website at www.monterey.courts.ca.gov.

Pursuant to statutes of the State of California, it is the responsibility of the court to establish procedures for the timely and
effective disposition of civil cases.

The court is charged wilh lhe responsibility of ensuring all parties a fair and timely resolution of their dispules, and the
court is in the best position to establish neutral rules and policies without adversely affecting all parties' nght to a fair trial.
Effective management of the judicial system will build continuing respect by the community of government, minimize the
costs to the parties and the public, and maximize the probability that cases will be timely resolved.

The goals of the Monterey County civil case and trial management system are:
    1. To provide an effective and fair procedure for the timely disposition of civil cases;
   2. To provide a mechanism to gather needed case information in order to make appropriate judicial management
       declsions; and
   3. To establish reasonable rules and policies to require that cases reporting "ready" for trial may be tried without
       unnecessary delays or interruptions.

Court proceedings are in English. If you or a witness in your case needs an interpreter, please complete Judicial Council
form /NT-300. You must file INT-300 at the first floor clerks counter (or by e-fi/e) 15* business days prior to your
hearing.

Los procedimientos judiciafes son en ingfes. Si usted o un testigo en su caso necesita un interprete, complete el
formulario INT-300 def Consejo Judicial. Debe presentar el INT-300 con /os empleados legates de la oficina def
primer piso (o rnecliante archivo electr6nico) 15* dias h:ibiles antes de su audiencia.




                                                                                               fRev. January 2016]
                  NOTICE OF ALL PURPOSE CASE ASSIGNMENT
                                                (Civil)
                                                                                                                                                       Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 8 of 21



                                                                                                                                                    Neil P. Berman, #246637                                                     ELECTRONICALLY FILED BY
                                                                                                                                                    RUCKA, O'BOYLE, LOMBARDO & McKENNA                                          Superior Court of California,
                                                                                                                                                    A Professional Corporation                                                  County of Monterey
                                                                                                                                             2
                                                                                                                                                    245 West Laurel Drive                                                       On 12/18/2020 215 PM
                                                                                                                                                    Salinas, CA 93906                                                           By: Rowena Esquerra, Deputy
                                                                                                                                                ~




                                                                                                                                                    Telephone:    (831) 443-1051
                                                                  • SALINAS, CALIFORNIA 93906 • OFFICE (831) 4434051 • FAX.(831) 443-6419




                                                                                                                                                    Facsimile:    (83 I) 443-6419
                                                                                                                                                ~




                                                                                                                                                    Attorneys for Plaintiff,
                                                                                                                                                ~




                                                                                                                                                    Lorenzo Trujillo
                                                                                                                                                ~
                                                                                                                                                ~




                                                                                                                                                                             SUPERIOR COURT OF THE ST ATE OF CALIFORNIA
RUCKA, O'BOYLE, LOMBARDO & McKENNA

                                                                                                                                                ~




                                                                                                                                                                                         COUNTY OF MONTEREY
                                                                                                                                            - = ~
                                                                                                                                            ~




                                                                                                                                                    LORENZO TRUJILLO,                                    )      Case No.: 19CV004604
                                                                                                                                            ~




                                                                                                                                                                                                         )
                                                                                                                                                                                                         )      AMENDMENT TO COMPLAINT TO
                                                                                                                                            ~
                                                                                                                                                ~




                                                                                                                                                                        Plaintiff,                              SUBSTITUTE TRUE NAME FOR
                                     A Professional Corporation




                                                                                                                                                                                                         )
                                                                                                                                                    VS.                                                  )      FICTITIOUS NAME
                                                                                                                                                ~
                                                                                                                                            ~




                                                                                                                                                                                                         )
                                                                                                                                                    UNION PACIFIC RAILROAD                               )
                                                                                                                                                ~
                                                                                                                                            ~




                                                                                                                                                    COMPANY,                                             )
                                                                                                                                                                                                         )
                                                                                                                                                ~
                                                                                                                                            ~




                                                                                                                                                                                                    .._,,.._,




                                                                                                                                                                       Defendant( s).
                                                                                                                                                ~
                                                                                                                                            ~




                                                                                                                                                                                                         )

                                                                                                                                                    _____________                                        )
                                                                                                                                            ~
                                                                                                                                                ~




                                                                                                                                                                                                         ).
                                                                                                                                            ~
                                                                                                                                                ~




                                                                                                                                                              Plaintiff, LORENZO TRUJILLO, amends his Complaint in this action as follows:
                                                                                                                                            ~
                                                                                                                                            =   ~




                                                                                                                                                              I.       Plaintiff has learned the true name of defendant designated in the original
                                                                                                                                            N




                                                                  !>'
                                                                  ct:
                                                                      21                                                                            complaint as DOE I, and hereby substitutes the true name, AZTEC DAIRY.
                                                                  REL I I




                                                                  Cl 22                                                                                       2.       Plaintiff has learned the true name of defendant designated in the original
                                                                                                                                            23      complaint as DOE 2, and hereby substitutes the true name, SISSON FARMS LTD.
                                                                  �
                                                                      2                                                                             Dated: December 18. 2020                            RUCK.A, O'BOYLE, LOMBARDO & McKENNA
                                                                        4
                                                                  �
                                                                  ,o 25
                                                                  'st
                                                                                                                                                                                                                    ~
                                                                                                                                                                                                                          f
                                                                  2




                                                                                                                                            26                                               By:
                                                                                                                                                                                                       Neil P. Berman
                                                                                                                                            27                                                         Attorneys for Plaintiff,
                                                                                                                                            28
                                                                                                                                                                                                       Lorenzo Trujillo

                                                                                                                                                    Amendment to Complaint                         - 1-                  Lorenzo Trujillo v. Union Pacific Railroad Company
                                                                                                                                                                                                                                                      Ca.'ie No. 19CV004604
                                                                                                                                Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 9 of 21



                                                                                                                                                       PROOF OF SERVICE BV ;\IAIL ,-., VIA E-MAIL
                                                                                                                                                           (l\1dc ufCi,. Proc. 0� IOU ta). 2015.5)
                                                                                                                            2
                                                                                                                                STArI-: OF CALI FORNI.-\
                                                                                                                           3    COUNTY OF l'vlONTERLY
                                                                   FAX (8J 1) 443-6419




                                                                                                                            4
                                                                                                                                Lorenzo Trujillo v. Union Pacific Railroad Compam
                                                                                                                                Monterey County Superior Court
                                                                                                 ..,,



                                                                                                                                Ca.sc No. 19CV0046U4
                                                                                                                            6
                                                                                                                                       I um employ1.?d in the County of iv1ontercy. Calil'ornia. I am over the age or t:ightecn
                                                                                                                            7   years and not a party to the' within cntitk·d action; my business address is 245 West Laurel Drive.
                                                                                  •                                         8
                                                                                                                                Salinas.CA 93906. tv!y electronic notification address is: ,pena "rolml,m .c,1 111 .
RUCKA, O'DOYLE, LOMBARDO & McKENNA
                                                                   E • SALINAS, CALIFORNIA 93906 • OFFICE (831) 443-1051




                                                                                                                            9          On the date written bdo\\. following ordina1y business practice. I serwd the, within
                                                                                                                                AMENDMENT TO COMPLAINT on the parties named below by placing a true copy thereof
                                                                                                                                enclosed in a scaled envelope. for colkction and mailing with the United States Postal Service
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                                                                                                                                where it would be depusitcd in the United Stales Postal Service that same day in the ordinary
                                                                                                                                course of business. tu the addrcss(cs) as lollows:
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                                                                                                                                       j Stephanie Quinn. lsq.                              Attorneys !'or Defendant(s).
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                                                                                                                                agreement of the parties to accept service by e-mail nr electronic transmission. I caused the
                                                                   >                                                       21   docume111s to be sent to the persons at the email addresses listed above. I did not receive. within
                                                                   a:                                                           a reasonable time after the transmission. any electronic nH.:ssage or other indlcation that the
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                                                                                                                                        1 declare. under penalty ol' pc1:iury under !he' hws of lhc State of California that the
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                           Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 10 of 21



                 1   Neil P. Berman, #24663 7
                     RUCKA, O'BOYLE, LOMBARDO & McKENNA                                   ELECTRONICALLY FILED BY
                 2   A Professional Corporation                                           Superior Court of California,
                     245 West Laurel Drive                                                County of Monterey
                     Salinas, CA 93906                                                    On 1/27/20211114AM
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         o-          Telephone:    (831) 443-1051                                         By: Rowena Esquerra, Deputy
         "It         Facsimile:    (831) 443-6419
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                 5   Attorneys for Plaintiff,
                     Lorenzo Trujillo
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                     LORENZO TRUJILLO,                                      Case No.: 19CV004604
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Octl            12                                                          SECOND AMENDMENT TO
                                         Plaintiff,
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                                                                            COMPLAINT TO SUBSTITUTE TRUE
cc; e o         13   VS.                                                    NAME FOR FICTITIOUS NAME

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    _o          14   UNION PACIFIC RAILROAD
                     COMPANY,
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                                        Defendant(s).                 )
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                               Plaintiff, LORENZO TRUJILLO, amends his Complaint in this action as follows:
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                               I.       Plaintiff has learned the true name of defendant designated in the original
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                     complaint as DOE 3, and hereby substitutes the true name, HEIN HETTINGA.

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                     Dated: January 27, 2021                          RUCK.A, O'BOYLE, LOMBARDO & McKENNA
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                                                                      Neil P. Berman
                                                                      Attorneys for Plaintiff,
                26                                                    Lorenzo Trujillo
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                     Second Amendment to Complaint                  - 1-                Lorenzo Trujillo v. Union Pacific Railroad Company
                                                                                                                     C.ise No. 19CV004604
                                                                                                                                                              Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 11 of 21



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RUCKA, O'DOYLE, LOMBARDO & McKENNA




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                                                                                                 "'      N
                                  Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 12 of 21
  ATTORNEY CR PARTY WITHOUT ATTORNEY (Name, State Bar number, and add,'3ss)
                                                                                 .                                                     FOR COURT USE ONLY
                                                                                                                                                                 POS-011

_ ,N't!il P. Berman, Esq.
   Rucka, O'Boyle, Lombardo & McKenna                                                                      ELECTRONICALLY FILED BY
   245 W. Laurel Dr Salinas, CA 939060000                                                                  Superior Court of California,
   TELEPHONE NO.:      (831) 443-1051 FAX NO. (831) 443-6419      E-MAIL ADDRESS: spena@rolmlaw.com        County of Monterey
             ATTORNEY FOR:    Plaintiff:
                                                                                                           On 2/10/2021 12:19 PM
  MONTEREY COUNTY SUPERIOR COURT                                                                           By: Kristen Simonsen, Deputy
           STREET ADDRESS:     1200 AGUAJITO RD.
           MAILING ADDRESS:    1200 Aguajito Rd
          CllY AND ZIP CODE:   MONTEREY, CA 93940
               BRANCH NAME:    MONTEREY BRANCH

         PLAINTIFF: Lorenzo Trujillo                                                                           CASE NUMBER:


   DEFENDANT: Union Pacific Railroad Company, et al                                                            19CV004604

                                                                                                               Ref. No. or File No.:
                                        PROOF OF SERVICE OF SUMMONS                                                                          53179
                                              (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:

    a. D Summons
    b. @ Complaint
                                                                                                                                         ORI G' NA L
    c. D       Alternative Dispute Resolution (ADR) package
    d. D       Civil Case Cover Sheet (served in complex cases only)
    e. D       Cross-complaint
    f.   @     other (specify documents): First Amended Summons; Amendment to Complaint; Notice of Assignment and Case
               Management Conference
3. a. Party served (specify name of parly as shown on documents served):
    Sisson Farms LTD., as Doe 2
    b.   G:f   Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
               item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
          Jon N Warkomski - Manager of General Partner, JWARKO, LLC
4. Address where the party was served : 205 W Sonoma Dr
                                                   Litchfield Park, AZ 85340
5. I s~d the party (check proper box)
   a. Ll1 by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on {date): 1124/2021 (2) at (time) : 6:11 PM

    b.   D     by substituted service. On (date): at (time) : I left the documents listed in item 2 with or
               in the presence of (name and title or relationship to person indicated in item 3b):

               (1)   D     (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                           person to be served . I infr,rmed him of her of the general nature of the papers .
               (2)   D     (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                           abode of the party. I informed him or her of the general nature of the papers.
               (3)   D     (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                           address of the person to be served, other than a United States Postal Service post office box. I informed him of
                           her of the general nature of the papers.
               (4)   D     I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                           place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                           (date) : from (city):                                                or    D
                                                                                                     a declaration of mailing is attached.

               (5)   G:f   I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                                  Pa e 1 of2
Form Approved for Mandatory Use                                                                                                             Code of Civil Procedure, § 417 .10
Judicial Council of California                           PROOF OF SERVICE OF SUMMONS
POS-010 [Rev. January 1, 2007]                                                                                                                      POS010-1/S12919
                                Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 13 of 21
            PETfTIONER: Lorenzo Trujillo                                                                      CASE NUMBER:

                                                                                                                           19CV004604
       RESPONDENT: Union Pacific Railroad Company, et al


      c. 0       by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                 shown in item 4, by first-class mail, postage prepaid,
                 (1) on (date):                                         (2) from (city):
                 (3)0 with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                         (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                 (4)0 to an address outside California with return receipt requested . (Code Civ. Proc.,§ 415.40.)
      d.   0     by other means (specify means of service and authorizing code section):


           D
          Additional page describing service is attached.
6. The "Notice to the Person Served" (on the summons) was completed as follows:

     a.    D as an individual defendant.
     b.    lif as the person sued under the fictitious name of (specify) :     Doe2
     c.    D as occupant.
     d. ~ On behalf of: Sisson Farms LTD.
          under the following Code of Civil Procedure section:
                            0     416.10   (corporation)                       0   415.95   (business organization, form unknown)

                            □     416.20   (defunct corporation)               D   416.60   (minor)
                                                                               D
                            ~
                                  416.30   (joint stock company/association)       416.70   (ward or conservatee)
                                  416.40   (association or partnership)        D   416.90   (authorized person)

                            □     416.50   (public entity)                     D   415.46   (occupant)
                                                                               D   other:

7. Person who served papers
   a. Name: MATTHEW BASHAM· Sayler Legal Service, Inc.
   b. Address: 2511 Garden Road, Suite B-100 Monterey, CA 93940
   c. Telephone number: (831) 384-4030
   d. The fee for service was: $ 250.00
   e. I am:
           (1)   ~ not a registered California process server.
           (2)       exempt from registration under Business and Professions Code section 22350(b).
           (3)       re~tered California pr~ss server:
                   (i) LJ owner             U employee                O
                                                                      independent contractor.
                   (ii) Registration No.:
                   (iii) County:

8.   [!f'    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
             or
9.   D       I arn a Califomia sheriff or marshal an-d I ce11ify that the foregoing is true and correct.


                 Date: 1/29/2021
                 Sayler Legal Service, Inc.
                 2511 Garden Road, Suite B-100
                 Monterey, CA 93940
                 (831) 384-4030
                 Monterey County #85
Documents served in accordance with
COVID-19 Safe Serving Policy, which includes
social distancing.

                                MATTHEW BASHAM
                    (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)
                                                                                   ►

POS-010 [Rev January 1, 2007]                                                                                                              Page 2 of2
                                                        PROOF OF SERVICE OF SUMMONS
                                                                                                                                    POS-010I S 12 919
                                  Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 14 of 21
  ATTORNEY 00 PARTY WITHOUT ATTORNEY (Name, State Bar number, and add,ess)      .                                                     FOR COURT USE ONLY
..... Neil P. Berman, Esq.
      · Rucka, O'Boyle, Lombardo & McKenna
        245 W. Laurel Dr Salinas, CA 939060000
    TELEPHONENO.:     (831)443-1051 FAX NO. (831)443-6419         E-MAIL ADDRESS: spena@rolmlaw.com
             ATTORNEY FOR:  Plaintiff:


   MONTEREY COUNTY SUPERIOR COURT
            STREET ADDRESS:     1200 AGUAJITO RD.
            MAILING ADDRESS:    1200 Aguajito Rd
           CITY AND ZIP CODE:   MONTEREY, CA 93940
               BRANCH NAME:     MONTEREY BRANCH

       PLAINTIFF: Lorenzo Trujillo                                                                            CASE NUMBER:


    DEFENDANT: Union Pacific Railroad Company, et al                                                          19CV004604

                                                                                                              Ref. No. or File No.:
                                AFFIDAVIT OF REASONABLE DILIGENCE                                                                          53179

     I received the within process on January 11, 2021 and that after due and diligent effort I have been able to serve said person. The
     following itemization of the dates and times of attempts details the efforts required to effect personal service. Additional costs for
     diligence are recoverable under CCP §1033.5 (a)(4)(8).
     Documents:
           Complaint; First Amended Summons; Amendment to Complaint; Notice of Assignment and Case Management Conference;
     I attempted personal service on Sisson Farms LTD., as Doe 2 on the following dates and times with the following results:


     Date                       Time                Location                 Results

     1/17/2021                  10:42 AM            Home                     Tried residence - no answer at door. The neighbor across the
                                                                             street came over and said that the people who live there are
                                                                             Rocky and Renee. They are currently sick and probably won't
                                                                             answer the door. He is helping them do some constrution work
                                                                             on the property. He took our contact info.
                                                                             805 E Eason Ave, Buckeye, AZ 85326




 Fee for Service: $ 250.00                                                             I declare under penalty of perjury under the laws of the State
                                                                                       of California that the foregoing information contained in the
cfo-6,__      Sayler Legal Service, Inc. 2511                                          return of service and statement of service fees is true and
LEGAL
              Garden Road, Suite B-100                                                 correct.
              Monterey, CA 93940                                                       This declaration was exe uted on January 29, 2021.
              (831) 384-4030
              Monterey County #85


 Service attempt(s) made in accordance with
 COVID-19 Safe Serving Policy, which
 iocli1des social distancing
                                                   AFFIDAVIT OF REASONABLE DILIGENCE
                                                                                                                                                      Order#: S12919
                                     Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 15 of 21
                                                                                                                                                                     POS-01(
    ATTORNEY OR PARTY WITHOUT ATT OR NEY (Name, State Bar number, and address)                                                              FOR CO UR T USE ONLY
~
      Neil P. Berman, Esq.
      Ruc~a, O'Boyle, Lombardo & McKenna                                                                        ELECTRONICALLY FILED BY
      245 W. Laurel Dr Salinas, CA 939060000
     TELEPHONE NO.:        (831) 443-1051 FAX NO. (831) 443-6419     E-MAIL ADDRESS: spena@rolmlaw.com
                                                                                                                Superior Court of California,
               ATTORNEY FOR ;     Plaintiff:                                                                    County of Monterey
                                                                                                                On 2/17/2021 3:36 PM
    MONTEREY COUNTY SUPERIOR COURT                                                                              By: Rowena Esquerra, Deputy
             STREET ADDRESS:        1200 AGUAJITO RD.
             MAILING ADDRESS:       1200 Aguajito Rd
           CITY AND ZIP CODE: MONTEREY,          CA 93940
                   BRANCH NAME:     MONTEREY BRANCH

        PLAINTIFF: Lorenzo Trujillo                                                                                 CASE NUMBER:


     DEFENDANT: Union Pacific Railroad Company, et al                                                               19CV004604

                                                                                                                    Ref. No. or File No.:
                                             PROOF OF SERVICE OF SUMMONS                                                                          53179
                                                   (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:

      a. D Summons
      b. G'.f' Complaint
      c. D Alternative Dispute Resolution (ADR) package
      d. D Civil Case Cover Sheet (served in complex cases only)
      e. D Cross-complaint
      f. G'.f' other (specify documents): Second Amended Summons; Second Amendment to Complaint; Notice of Assignment and
                   Case Management Conference; Amendment to Complaint
3. a. Party served (specify name of party as shown on documents served):
      Aztec Dairy
      b.   G'.f'   Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                   item 5b on whom substituteq service was made) (specify name and relationship to the party named in item 3a):
            Patricia Mohr - Controller
4, Address where the party was served : 14651 Grove Ave
                                                        Ontario, CA 91762
5. I served the party (check proper box)
      a.   G'.f'   by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                   receive service of process for the party (1) on (date): 21412021 (2) at (time): 9:03 AM
                                   Age: 50's Weight: 145 Hair: Black Sex: Female Height: 5'5" Eyes: Race: White

     b.    D       by substituted service. On (date) : at (time) : I left the documents listed in item 2 with or
                   in the presence of (name and title or relationship to person indicated in item 3b):

                   (1)   D    (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                              person to be served . I informed him of her of the general nature of the papers.
                   (2)   D    (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                              abode of the party. I informed him or her of the general nature of the papers.
                   (3)   D    (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                              address of the person to be served, other than a United States Postal Service post office box. I informed him of
                              her of the general nature of the papers.
                   (4)   D    I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                              place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                              (date): from (city):                                                 or    D
                                                                                                        a declaration of mailing is attached.

                   (5)   D    I attach a declaration of diligence stating actions taken first to attempt personal service.



                                                                                                                                                                       Page 1 of2

j~~~;:f8~~vn"c~I    ti;ia~~g~~~ry
                             Use
                                                              PROOF OF SERVICE OF SUMMONS
                                                                                                                                                  Code of Civil Procedure, §417.10
POS--010 [Rev. January 1, 2007]                                                                                                                           POS010-1/S13613
                                Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 Page 16 of 21
          PETITIONER : Lorenzo Trujillo                                                                        CASE NUMBER:



l     RESPONDENT: Union Pacific Railroad Company, et al


     c.   D
                                                                                                                              19CV004604



                by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                                 (2) from (city):
                (3)   D    with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                           (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)0 to an address outside California with return receipt requested . (Code Civ. Proc., § 415.40.)
     d.   D     by other means (specify means of service and authorizing code section):


          D      Additional page describing service is attached.
6. The "Notice to the Person Served" (on the summons) was completed as follows:

     a. D       as an individual defendant.
     b. D       as the person sued under the fictitious name of (specify):
     c. D       as occupant.
     d.   @'    On behalf of: Aztec Dairy
                under the following Code of Civil Procedure section:
                             D     416.10   (corporation)                      ~    415.95   (business organization, form unknown)
                             D     416.20   (defunct corporation)              D    416.60   (minor)
                             D     416.30   Ooint stock company/association)   D    416.70   (ward or conservatee)
                             D     416.40   (association or partnership)       D    416.90   (authorized person)
                             D     416.50   (public entity)                    D    415.46   (occupant)
                                                                               D    other:

7. Person who served papers
   a. Name: BARRETT GUNNELL - Sayler Legal Service, Inc.
   b .. Address: 2511 Garden Road, Suite 8-100 Monterey, CA 93940
   c. Telephone number: (831) 384-4030
   d. The fee for service was: $ 92.50
   e. I am:
          (1)   D not a registered California process server.
          (2) [1 exempt from registration under Business and Professions Code section 22350(b).
          (3) ~ re~tered California pr~ess server:            d
                (i) LJ owner              LJ employee         ~ independent contractor.
                (ii) Registration No.: 1583
                (iii) County: Riverside

a. ~       I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.   D     I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 2/10/2021
                Sayler Legal Service, Inc.
                2511 Garden Road, Suite 8-100
                Monterey, CA 93940
                (831) 384-4030
                Monterey County #85
Documents served in accordance with
COVID-19 Safe Serving Policy, which includes
social distancing.

                                BARRETT     GUNNELL
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)
                                                                                     ►            /             (SIGNATURE)




POS-010 [Rev January 1. 2007]                                                                                                                Page 2 of2
                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                       POS-010/S13613
                                  Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 PageFOR
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                   17COURT
                                                                                               of 21
                                                                                                   USE ONLY
  Neil P. Bennan, Esq.
  Rucka, O'Boyle, Lombardo & McKenna                                                                       ELECTRONICALLY FILED B)
  245 W. Laurel Dr Salinas, CA 939060000
                                                                                                           Superior Court of California,
 TELEPHONENO.:        (831)443-1051 FAX NO. (831)443-6419       E-MAIL ADDRESS: spena@rolmlaw.com
           ATTORNEY FOR :   Plaintiff:                                                                     County of Monterey
                                                                                                           On 5/4/2021
MONTEREY COUNTY SUPERIOR COURT                                                                             By Deputy: DeMers, Kristen
         STREET ADDRESS:       1200 AGUAJITO RD.
        MAILING ADDRESS:       1200 Aguajito Rd
        CITY AND ZIP CODE:     MONTEREY, CA 93940
             BRANCH NAME:      MONTEREY BRANCH
     PLAINTIFF: Lorenzo Trujillo                                                                               CASE NUMBER:


 DEFENDANT: Union Pacific Railroad Company, et al                                                              19CV004604

                                                                                                               Ref. No. or File No ..
                                        PROOF OF SERVICE OF SUMMONS                                                                     53179
                                              (Separate proof of service is required for each party served.)
. At the time of service I was at least 18 years of age and not a party to this action.
. I served copies of:

  a.D         Summons
  b. @'       Complaint
  c. D        Alternative Dispute Resolution (ADR) package
  d. D        Civil Case Cover Sheet (served in complex cases only)
  e. D        Cross-complaint
  f. @'       other (specify documents): Second Amended Summons; Second Amendment to Complaint; Notice of Assignment and
              Case Management Conference; Amendment to Complaint
. a. Party served (specify name of party as shown on documents served):
   Hein Hettinga

  b. D        Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
              item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
. Address where the party was served: 2705 W Americana Blvd
                                                   Muleshoe, TX 79347
. I served the party (check proper box)
  a. D by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
         receive service of process for the party (1) on (date): (2) at (time):

   b.   @'    by substituted service. On (date): 4/712021 at (time): 3:26 PM I left the documents listed in item 2 with or
              in the presence of (name and title or relationship to person indicated in item 3b):
              Michelle DOE - Office Manager
                                  Age: 45-55 Weight: 165 Hair: Brown Sex: Female Height: 5'4" Eyes: Race: White

             (1)   @'     (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                          person to be served. I informed him of her of the general nature of the papers.
             (2) D        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                          abode of the party. I informed him or her of the general nature of the papers.
             (3)   D      (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                          address of the person to be served, other than a United States Postal Service post office box. I informed him of
                          her of the general nature of the papers.
             (4) D        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                          place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                          (date): from (city):                                                 or @' a declaration of mailing is attached.

             (5)   @'     I attach a declaration of diligence stating actions taken first to attempt personal service.


                                                                                                                                                            Page 1 of 2
irm Approved for Mandatory Use                                                                                                          Code of Civil Procedure,§ 417.10
1diclal Council of Califomia                             PROOF OF SERVICE OF SUMMONS
JS-010 (Rev. January 1, 2007)                                                                                                                   POS010-1/S14052
                              Case
             PETITIONER: Lorenzo Trujillo2:22-cv-00095-SRB                Document 1-1 Filed 11/23/21CASE
                                                                                                       Page  18 of 21
                                                                                                          NUMBER:

                                                                                                                           19CV004604
       RESPONDENT: Union Pacific Railroad Company, et al


    c.       0     by mall and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                   shown in item 4, by first-class mail, postage prepaid,
                   (1) on (date):                                         (2) from (city):
                   (3) 0 with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                           (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415.30.)
                   (4)0 to an address outside California with return receipt requested. (Code Civ. Proc.,§ 415.40.)
    d. D by other means (specify means of service and authorizing code section):


             D
          Additional page describing service is attached .
._ The "Notice to the Person Served" (on the summons) was completed as follows:

    a. @ as an individual defendant.
    b.       D     as the person sued under the fictitious name of (specify):
    c.       D     as occupant.
    d. □ On behalf of:
         under the following Code of Civil Procedure section:
                              D     416.10   (corporation)                       D   415.95   (business organization, form unknown)
                              0     416.20   (defunct corporation)               D   416.60   (minor)
                              D     416.30   (joint stock company/association)   D   416.70   (ward or conservatee)
                              D     416.40   (association or partnership)        D   416.90   (authorized person)
                              D     416.50   (public entity)                     D   415.46   (occupant)
                                                                                 0   other:

    Person who served papers
    a. Name: ALVARO IVAN ADAME -Sayler Legal Service, Inc.
    b. Address: 2511 Garden Road, Suite B-100 Monterey, CA 93940
    c. Telephone number: (831) 384-4030
    d. The fee for service was:$ 190.00
    e. I am:
             (1)   Mnot a registered California process server.
             (2)   □     exempt from registration under Business and Professions Code section 22350(b).
             (3)   D     re~tered California p~ess server:
                       (i) LJ owner             U employee               D independent contractor.
                       (ii) Registration No.:
                       (iii) County:

• ~ I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
              or
,_D           I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                   Date: 4/9/2021
                   Sayler Legal Service, Inc.
',q'f.4<,,         2511 Garden Road, Suite B-100
•mu                Monterey, CA 93940
                   (831) 384-4030
                   Monterey County #85
>ocuments served in accordance with
;QVID-19 Safe Serving Policy, which includes
.ocial distancing .
                              ALVARO IVAN ADAME
                       (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)         ►

JS-010 [Rev January 1, 2007]                                                                                                                Page 2 of 2
                                                           PROOF OF SERVICE OF SUMMONS
                                                                                                                                      POS-010/S 14052
                                      Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 PageFOR19COURT
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, end address)                            of 21
                                                                                                        USE ONLY
      Neil P. Berman, Esq.
      Rucka, O'Boyle, Lombardo & McKenna
      245 W. Laurel Dr Salinas, CA 939060000
    TELEPHONE NO.:        (831) 443-1051 FAX NO. (831) 443-6419   E-MAIL ADDRESS: spena@rolmlaw.com
                  ATTORNEY FOR : Plaintiff:


MONTEREY COUNTY SUPERIOR COURT
                STREET ADDRESS:    1200 AGUAJITO RD.
                MAILING ADDRESS:   1200 Aguajito Rd
               CITY AND ZIP CODE: MONTEREY,     CA 93940
                   BRANCH NAME:    MONTEREY BRANCH
              PLAINTIFF: Lorenzo Trujillo                                                                      CASE NUMBER:


    DEFENDANT: Union Pacific Railroad Company, et al                                                            19CV004604

                                                                                                               Ref. No. or File No.:
                                   AFFIDAVIT OF REASONABLE DILIGENCE                                                                         53179

      I received the within process on February 12, 2021 and that after due and diligent effort I have been able to serve said person.
      The following itemization of the dates and times of attempts details the efforts required to effect personal service. Additional costs
      for diligence are recoverable under CCP §1033.5 (a)(4)(8).
      Documents:
              Complaint; Second Amended Summons; Second Amendment to Complaint; Notice of Assignment and Case Management Conference;
              Amendment to Complaint;
      I attempted personal service on Hein Hettinga on the following dates and times with the following results:

      Date                         Time                Location              Results

      3/2/2021                     3:22 PM             Home                  The 1100 block of Highway 84 has a chiropractic clinic, a glass
                                                                             shop and a tool rental place. None of them are 1140. I
                                                                             searched Google Maps, Mapquest and Wazemaps - each of
                                                                             them pinpoints a different location for 1140. I ran a database
                                                                             search for subject (see attached). Called 760-835-8543 and
                                                                             spoke to subejct. He said he is aware of the lawsuit, but will not
                                                                             make it easy for us to serve him. He is working in El Paso, TX
                                                                             right now and travels frequently.
                                                                             1140 US Highway 84, Muleshoe, TX 79347
      3/10/2021                    3:45 PM             Business             The name of the dairy farm is Specialized Dairy Services.
                                                                            According to the workers there, Hein Hettinga is the owner of
                                                                            this dairy farm and the owner of the land that the railroad tracks
                                                                            reside on and has no affiliation with Union Pacific. They
                                                                            advised he is rarely ever here and resides in California, but
                                                                            they were unsure of his exact whereabouts.
                                                                            2705 W Americana Blvd, Muleshoe, TX 79347
      3/12/2021                    3:27 PM             Other                 Update e-mailed to client - proceed with sub service? Holding
                                                                             for further instructions.


                                                                  Continued on Next Page


=ee for Service:$ 190.00                                                               I declare under penalty of perjury under the laws of the State
t''      ,                                                                             of California that the foregoing information contained in the
 11'_<1.{~~
li!(,AI,          Sayler Legal Service, Inc. 2511                                      return of service and statement of service fees is true and
                  Garden Road, Suite B-100                                             correct.
                  Monterey, CA 93940                                                   This declaration was executed on April 9, 2021.
                  (831) 384-4030
                  Monterey County #85


,ervice attempt(s) made in accordance with
;OVID-19 Safe Serving Policy, which
                                                                                       Signature _
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                                                                                                               Alvaro Ivan Adame
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                                                      AFFIDAVIT OF REASONABLE DILIGENCE
                                                                                                                                                        Order#: S14052
                                  Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 PageFOR20COURT
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                        of 21
                                                                                                    USE ONLY
      Neil P. Berman, Esq.                                                                                                                                         ,
      Rucka, O'Boyle, Lombardo & McKenna
      245 W. Laurel Dr Salinas, CA 939060000
  TELEPHONENO.:       (831)443-1051 FAX NO. (831)443-6419      E-MAIL ADDRESS: spena@rolmlaw.com
              ATTORNEY FOR: Plaintiff:


MONTEREY COUNTY SUPERIOR COURT
            STREET ADDRESS:    1200 AGUAJITO RD.
            MAILING ADDRESS:   1200 Aguajito Rd
           CITY AND ZIP CODE: MONTEREY,     CA 93940
               BRANCH NAME: MONTEREY       BRANCH

          PLAINTIFF: Lorenzo Trujillo                                                                             CASE NUMBER:


  DEFENDANT: Union Pacific Railroad Company, et al                                                                19CV004604

                                                                                                                  Ref. No . or File No.:
                               AFFIDAVIT OF REASONABLE DILIGENCE                                                                           53179

      I received the within process on February 12, 2021 and that after due and diligent effort I have been able to serve said person.
      The following itemization of the dates and times of attempts details the efforts required to effect personal service. Additional costs
      for diligence are recoverable under CCP §1033.5 (a)(4)(B).
      Documents:
          Complaint; Second Amended Summons; Second Amendment to Complaint; Notice of Assignment and Case Management Conference;
          Amendment to Complaint;
      I attempted personal service on Hein Hettinga on the following dates and times with the following results:

      Date                     Time                 Location               Results

                                                            Continued from Previous Page
      3/12/2021                3:30 PM              Other                  Per client (Sergio) - proceed with service here.


      4/2/2021                 12:10 PM             Home                   They are closed for Good Friday.
                                                                           2705 W Americana Blvd, Muleshoe, TX 79347
      4/7/2021                 3:26 PM              Home                   Substituted service effected.
                                                                           1140 US Highway 84, Muleshoe, TX 79347




=ee for Service: $ 190.00                                                            I declare under penalty of perjury under the laws of the State
r''   ~
                                                                                     of California that the foregoing information contained in the
;;~r;:         Sayler Legal Service, Inc. 2511                                       return of service and statement of service fees is true and
               Garden Road, Suite B-100                                              correct.
               Monterey, CA 93940                                                    This declaration was executed on April 9, 2021.
               (831) 384-4030
               Monterey County #85


;ervice attempt(s) made in accordance with                                           Signature_
                                                                                              · _ _ _ l__...._.._lffi.h.-"'-=
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;QVID-19 Safe Serving Policy, which                                                                         Alvaro Ivan Adame
,ch ides social disfancing
                                                  AFFIDAVIT OF REASONABLE DILIGENCE
                                                                                                                                                      Order#: S 14052
                              Case 2:22-cv-00095-SRB Document 1-1 Filed 11/23/21 PageFOR
ATTORI\IEY OR PARTY WITHOUT ATTORNEY (Nama, State Bar number, and address)            21COURT
                                                                                          of 21
                                                                                              USE ONLY
  Nell P. Berman, Esq.
  Rucka, O'Boyle, Lombardo & McKenna
  245 W. Laurel Dr Salinas, CA 939060000
 TELEPHONENO.:    (831)443-1051 FAX NO. (831)443-6419            E-MAIL ADDRESS: spena@rolmlaw.com
         ATTORNEY FOR:  Plaintiff:


MONTEREY COUNTY SUPERIOR COURT
       STREET ADDRESS:     1200 AGUAJITO RD.
      MAILING ADDRESS:     1200 Aguajito Rd
      CITY AND ZIP CODE:   MONTEREY, CA 93940
          BRANCH NAME:     MONTEREY BRANCH

    PLAINTIFF: Lorenzo Trujillo                                                                               CASE NUMBER:


 DEFENDANT: Union Pacific Railroad Company, et al                                                             19CV004604

                                                                                                              Ref. No . or File No.:
                                  PROOF OF SERVICE BY MAIL                                                                             53179



. I am over the age of 18 and not a party to this action. I am employed in the county where the mailing occured.

'.. I served copies of the Complaint; Second Amended Summons; Second Amendment to Complaint; Notice of Assignment
    and Case Management Conference; Amendment to Complaint;

,. By placing a true copy thereof enclosed in a sealed envelope, with First Class postage thereon fully prepaid, in the United
   States Mail at Monterey, CA, California, addressed as follows:

  a. Date of Mailing:                             April 8, 2021
  b. Place of Mailing:                            Monterey, CA
  c. Addressed as follows:                        Hein Hettinga
                                                  2705 W Americana Blvd
                                                  Muleshoe, TX 79347

 am readily familiar with the firm's practice for collection and processing of documents for mailing. Under that practice, it
vould be deposited within the United States Postal Service, on that same day, with postage thereon fully prepaid at
font'erey, CA, California in the ordinary course of business.




=ee for Service: $ 190.00
        Sayler Legal Service, Inc.                                                     I declare under penalty of perjury under the laws of the
'k4. 2511 Garden Road, Suite B-100                                                     The State of California that the foregoing information
fiGAl, Monterey, CA 93940                                                              contained in the return of service and statement of
        (831) 384-4030                                                                 service fees is true and correct and that this declaration
        Monterey County #85                                                            was executed on April 9, 2021.

                                                                                       Signature·              ~ ~ 4)
                                                                                                               Karisma5iga%a

                                                          PROOF OF SERVICE BY MAIL
                                                                                                                                       Order#: 514052/mailproof
